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      3
          Attorney for Defendant
      4   Jian Hong Liang
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      7                          IN THE UNITED STATES DISTRICT COURT FOR THE
      8                                   EASTERN DISTRICT OF CALIFORNIA
      9

     10   UNITED STATES OF AMERICA,                             )   Case Nos: 06-337 and 06-390
                                                                )
     11                  Plaintiff,                             )   APPLICATION AND ORDER FOR COURT
                                                                )   ASSISTANCE IN OBTAINING
     12          vs.                                            )   FORTHWITH FROM COURT REPORTER
                                                                )   AN ESTIMATE OF THE COST OF THE
     13   JIAN HONG LIANG,                                      )   TRIAL TRANSCRIPT AND A COPY OF
                                                                )   THE TRANSCRIPT IF REQUESTED
     14                  Defendant.                             )
                                                                )   Date: N/A
     15                                                         )   Time: N/A
                                                                )   Courtroom: Honorable Edward J. Garcia
     16                                                         )
     17          Defendant Jian Liang hereby applies for the Court’s assistance in Ordering the court reporter

     18   responsible for the trial transcript in the above matter to provide the defendant with an estimate of the

     19   cost of preparing a copy of the transcript for the defense forthwith and, if affordable by the defendant, a

     20   copy of the trial transcript. The defense is asking that the transcript, if affordable by the defendant, also

     21   be produced forthwith.

     22          Undersigned counsel has been retained to handle the sentencing in this matter. Undersigned

     23   counsel did not handle the trial in this matter and thus the trial transcript is necessary to acquaint counsel

     24   with the testimony at trial for both sentencing purposes and any potential new trial motion. Sentencing

     25   in this matter is set for January 13, 2012. Despite repeated phone calls and requests, Counsel has not

     26   been able to obtain an estimate from the Court Reporter of the cost of a trial transcript. Accordingly, the

     27   defendant seeks the Court’s assistance in Ordering the Court Reporter responsible for the trial transcript

     28   to provide the defense, forthwith, with an estimate of the cost of the production of the transcript and, if
          so requested by the defense, to produce a copy of the transcript forthwith.

                                               Application and Proposed Order Re Transcript
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      1         IT IS SO ORDERED.
                Dated: November 15, 2011                   /s/ Edward J. Garcia                 _
      2                                                     EDWARD J. GARCIA
      3                                                    United States District Court Judge

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                                      Application and Proposed Order Re Transcript
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